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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                 CASE NO.: 3:10cr6/MCR

JOHN I. LEWIS
                               /


                       ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendant, JOHN I. LEWIS, to the two count indictment against him is
hereby ACCEPTED. All parties shall appear before this Court for sentencing as
directed.


      DONE AND ORDERED this 22nd day of July, 2010.




                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
